Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 1 of 9

. E|ectronically Submitted
Accepted by. Jacque|yn Perez 412/2015 6:11:05 PM

Hida|go County C|eri<e Offtce

CAUSENO._CL_M

JORGE GUTIERREZ, JR. and § IN 'I`HE COUNTY C()URT
IRENE GUTIERREZ §

VS. ' NO.

ALLSTATE TEXAS LLOYDS ' HIDALGO COUNTY, 'I`EXAS

PLAlNTIFF’S ORIGINAL PETI'I`ION

TO THE HONORABLE JUDGE OF SALD COURT:

NOW COMES, .Iorge Gutierrez, Jr. and Irene Gutierrez, hereinafter called
"Plaintift`s", complaining of ALLSTATE TEXAS LLOYDS , hereinafter called "Defcndant",
and for cause of action would respectfully show unto the Court the following:

I.
PARTIES, AND RULE 190 DISCOVERY LEVEL

Plaintiffs are individuals residing in Hidalgo County, Texas.

Defendant, ALLSTATE TEXAS LLOYDS, hereinafter referred to as "ALLSTATE”
is a licensed insurance company authorized to engage in the insurance business in the State
of Texas, and may be served with process of service, by serving its registered agent, C T
Corporation System, by certified mail, return receipt requestcd, at the following address:

1999 Bryan St, Suite 900, Dallas, Texas 7520|.

mmrff§ ()aim.\.',u P£mlON 1 Fage lclg.

 

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 2 of 9

. Elecironica[|y Submitted
Accepted by. Jacquelyn perez 412/2015 6111:05 PM

Hida|gc Counly Clerks Ofuce
CL-'15-1014-E

II.
AGENCY AND RESPONDEAT SUPERIOR

Whenever in this petition it is alleged that the Defendant did any act or thing, it is
meant that Defendant itself or their agents, 0fiicers, servants, employees, or representatives
did such act or thing, and it was done with the full authorization or ratification ofDefendant
or done in the normal routinc, course and scope of the agency or employment ofDefendant
or their agents, officers, servants, employees, or representatives

III.

This suit is brought pursuant to the law of good faith and t`air dealing as well as under
common lavr.r and Chapters 541 and 542 of the Texas Insurance Code and the Texas
Deceptive Trade Practices Act. In the alternative, this suit is brought for breach ofcontract,
and for recovery under a policy of insurance P|aintitfs are consumers of the Defendant, in
that they purchased insurance from said entity and/or service to be provided by it. Each
Defcndant is an individual corporation, association, partnership, brother legal entity engaged
in the business ot` insurance Such Det`endant constitute persons as that term is defined in
Chapter 541 of the Texas Insurance Code.

_Ilz

Defendant ALLSTATE is Plairrtift`s' homeowners insurance company. The actions
set forth in this complaint were committed by one or more ot` said Defendants, or their actual
or apparent agents. Plaintiffs own and/or reside in a dwelling at 520 Vine Avenue, McAllen,
Texas 78501 . Defendant provided coverage to the Plaintifi°s under a Horneowners Policy, for

such dwelling, personal property, and other matters under insurance policies described above.

Ptmwfs G.Mrmt PEnTroN - Page 2 of§.

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 3 of 9

. E|ectronicatly Submitted
Accepted by. Jacquetyn Perez 412]2015 6211:05 PM

Hida|go County C|erks Oftice
CL-15-10?4-E

During the policy term of said policy, Plaintiffs sustained massive amounts of covered losses
in the form of hail, wind, and water damages, resulting therefrom, and Plaintiffs promptly
and timely and properly reported same to Defendant pursuant to the terms of the insurance
policy. Plaintiffs reported loss or damage from hail, wind and water upon having discovered
same. These constituted covered damages under Plaintiffs' homeowners’ insurance policy
with the Defendant ALLSTATE.

V.

Defendant ALLSTATE and their agents visited and inspected Plaintiffs' property, in
connection with Plaintif`fs' property damage. Defcndants knew or should have known that
Plaintiffs had already sustained significant damage to the property, requiring significant
repairs as a result of a loss and peril covered by the insurance policies. ALLSTATE was also
made aware of the need to perform immediate r'epairs, which would result in covered tearing
out and restoration of portions of the property covered, as well as the immediate need to
perform emergency repairs to the roof. ALLSTATE knew that a substantial covered loss
was owed. DEFENDANT, ALLSTATE also knew that the home had become untenantable
as a result of such covered damage, and that massive sums would be required to repair or
rebuild the house as a resuit of the covered damage. Nonetheless, ALLSTATE partially
denied, delayed, and failed to pay and properly investigate some or all of Plaintiffs' covered
losses with no reasonable basis. ALLSTATE has failed to act promptly or to conduct a good
faith investigation This is bad faith claim delay and/or denial and a violation of Chapters

541 and 542 of the Texas Insurance Code. ALLSTATE violated Chapter 542 of the Texas

Pm'mrsr's Oavc.t\i-u anow~ Page 3 efQ.

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 4 of 9

. Electronica||y Submitted
Accepted by. Jacqueiyn Perez 419/2015 6:11:05 PM

Hida|go County Clerks Offrce
CL-15-1014-E

Insurance Code, and is liable for the actual damages, penalties and attorney’s fees provided
for therein.
g

Despite the fact that all conditions precedent to Plaintiffs' recovery have been
performed or have occurred, Defendant has failed and refused to pay the Plaintiffs ajust
amount in accordance with their contractual obligations, agreements, and representations lrr
fact, after such refusals to pay and investigate, Plaintiffs were forced to file suit to seek the
policy benefits to which they were entitled. This partial derriai, and others, were wrong,
improper, and made knowingly. ALLSTATE knew that substantial damage had been done
by water, and yet refused to investigate most or all of such damages

VII.

Such denials, delays, refusals and/or failures to pay by ALLSTATE were in bad faith,
and constitute breaches of the covenant of good faith and fair dealings, which breaches were
a proximate cause of damages to the Plaintiffs more specifically set forth herein beiow.
There was no reasonable basis for denying, delaying, or failing to pay or investigate
Plaintiffs1 claims for damage, and ALLSTATE knew or should have known that there was no
such reasonable basis to lowball, partially deny, delay, and fail to pay such claims. The
conduct ofDefendant ALLSTATE was irresponsible, uneonscionable, and took advantage of
the Plaintiffs' lack of sophistication in insurance matters to a grossly unfair degree.

Furthermore, the conduct of Defendant ALLSTATE amounts to one or more of the

following:

Pr_.‘u‘nrss‘s D,uo¢.\‘-u Prrrno.-ivPagc 4 ot‘.i.

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 5 of 9

_ Etectronica||y Submitted
Accepted by. Jacquelyn Perez 4/2/2015 6:11:05 PM

Hidalgo Counly Clerks Ofl"rce
CL-15-1014-E

(a) not attempting in good faith to effectuate prompt, fair, and equitable settlements
of claims submitted in which liability has become reasonably clear in violation of
Chapter 541 .060 (a)(2).

(b) refusing to pay claims without conducting a reasonable investigation based upon

all available information in violation ofChapter 541 .060 (a)(?);

(c) failing to handle or process the Plaintiffs claims in good faith; in violation of

common law as expressly stated by the Texas Supreme Court in Vai'l v. Texas

Farm Bm'earr, 754 S.W.Zd 129 at 135 (Tex. 1988);

(d) committing a course of conduct that is unconscionable;

(e) omitting any information or making any false implication or impression that was

either misleading or deceptive or had the capacity to be misleading or deceptive

in violation of Chapter 541;

(f) refusing to pay a claim without a reasonable basis in violation of common law;

(g) delaying payment of a claim without a reasonable basis in violation of common

la\v;

(h) denying and/or delaying payment of a claim without determining whether there

is any reasonable basis to do so in violation of common law;

(i) representing that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities which they do not have or that a person

has a sponsorship, approval, status, affiliation, or connection which they do not;

(j) representing that goods or services are of a particular standard, quality, or grade,

or that goods are of a particular style or model, if they are of another;

Fumrn”s carmen Ptrrnc.~r- Page 5 019.

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 6 of 9

- E!ectronica||y Submitted
Accepted by. Jacquelyn Perez 4/2/2015 6:11:05 pM

Hidalgo County C|erks Otnce
CL-15-1014-E

(k) representing than an agreement confers or involves rights, remedies, or

obligations which it does not have or involve, or which are prohibited by law;

(l) failing to disclose information concerning goods or services which was known

at the time of the transaction if such failure to disclose such information was

intended to induce the consumer into a transaction into which the consumer
would not have entered had the information been disclosed;

(m) violations of Chapter 541 .061 , Texas lnsurance Code, including, but not limited

to, Section (1), (2), (3), (4), and (5) in that they misrepresented the terms of the policy

or other facts, and

(n) violations ofChapter 541 .051(5), Texas lnsurance Code, prohibiting making any

representation tending to induce a policy holder to lapse, forfeit, or surrender his

insurance;

(o) other violations of law, including but not limited to Chapter 541 .051, Sections

(l)(a)(b)(€), (2), 3(&)(11), 4r and 5;

(p) other violations of law, including but not limited to Chapter 541 .060 and Chapter

541 .061

VIII.

As a result of all of such conduct, Plaintiffs have been damaged in an amount not to
exceed Seventy-Five Thousand Dollars, as a result of having to live in a damaged home
during the pendency of ALLSTATE’S delays and lack of good faith/fair dealing. in addition,
the conduct of A LLSTATE was committed knowingly, and under circumstances constituting

willful and wanton and reckless disregard of the rights of the Plaintiffs and others similarly

Puu:nur»“§ Ort=or.\',uPirnrON - Page 6 ufB.

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 7 of 9

E|ectronica||y Submitted
412!2015 6:11:05 PM
Hida|go County Clerks Office

Accepted by: Jacque|yn Perez
CL-15-1014-E
situated Plaintiffs seek actual damages from ALLSTATE in an amount not exceeding
Seventy-Five Thousand Dollars.
IX.

All of the conditions precedent to bringing this suit under the policy and to the
Defendants’ liability to the Plaintiffs under the policy for the claims alleged have been
performed or have occurred. Plaintiffs gave written notice to Defendant of their losses
and/or claims, and repeatedly thereafter, including damage estimates Nonetheless,
ALLSTATE refused and continues to refuse to even investigate some of such claims, refused
to pay any ALE and partially denied and refused to pay any such claims.

X.

Defendant has by their conduct breached their contract of insurance with the
Plaintiffs. Such breach proximately caused damages to the Plaintiffs including consequential
damages ln addition, Plaintiffs are entitled to recover attorney’s fees in connection with
their contractual causes of action. in addition, as a supplement to such contractual causes of
action, each Defendant is liable for the statutory damages and penalties set out in Chapter
542 of the Texas insurance Code.

XI.

Defendant owes the Plaintiffs significant sums for known losses. Further, under the
contract of insurance, the Defendant owes the Plaintiffs reasonable compensation for
additional living expenses because repairs to be performed to their residence and required by
the above losses will require that they sustain living expenses over and above those normally

incurred while residing in the home.

Pr_ANntF's Oruor~<).r Ptm:on - Page 7 of‘;r.

 

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 8 of 9

. Electronicatly Submitted
Accepted by. Jacquelyn Perez 412]2015 6:11;05 PM

Hida|go County Clerks Ofnce
CL-15-1014-E

XII.

Plaintiffs assert all statutory claims, demands, and causes of action assertable under
state law from the pleaded scenario and facts, but only seek breach of contract and Chapter
542 causes of action against ALLSTATE at this time for actual damages and attorney’s fees
and Chapter 542 penalties Plaintiffs seek from ALLSTATE actual, additional, exemplary
damagcs, as well as all other damages and penalties available at law, including loss of the
use and enjoyment of the home.

XIII.

Pursuant to Rule 216 ofthe Texas Rules of Civil Procedure, Plaintiffs herein request
ajury trial and along with the filing of the Original Petition have tendered to the Clerk of the
Court the statutoryjury fee.

WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray, move and respectfully
request this Honorable Court for the following relief:

That upon final hearing and trial hereof, this Honorable Court grant to the Plaintiffs
such relief as to which they may show themselvesjustly entitled, either at law or in equity,
either general or special, including declaratory judgment against the Defendant for actual
damages, attorney’s fees, costs of suit, statutory penalties, and prejudgment and post
judgment interest, if allowed by law, and including judgment for additional damages and

punitive damages under the facts set forth in this or any amended pleading

Pt_Ar\ranS Or.réw\.r Pttrer.\.r¢Page 8 of 9.

 

 

Case 7:15-cv-00223 Document 1-4 Filed in TXSD on 05/13/15 Page 9 of 9

_ Electronica|ly Submitted
Accepted by. Jacque|yn Perez 4|,2]2015 6;11:05 PM

Hidalgo County Clerks Oft'roe
CL-'|5-1014-E

Rcspcctfully Submitted,

Law Office of lose Luis Flores
1111 W. Nolana Avenuc
McAllen, Texas 78504

Ph. (956) 682-0924

Fax (956) 682»3838

By:/s/ Jose Luis F!ores
lose Luis Flores
State Bar No. 00786401

ATTORNEY FOR PLAINTIFFS

PLANTuF'SGRtGNn PtrmON 1 Pagz 9 ofB.

 

 

